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    IT IS ORDERED as set forth below:



    Date: March 23, 2021
                                                             _________________________________

                                                                      Barbara Ellis-Monro
                                                                 U.S. Bankruptcy Court Judge

  ________________________________________________________________

                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


 IN RE:                                          )            CASE NO. 09-61855-BEM
                                                 )
 TODD ANTHONY SHAW,                              )            CHAPTER 7
                                                 )
          Debtor.                                )
                                                 )

                      ORDER GRANTING APPLICATION TO EMPLOY
                          BROKER, SUBJECT TO OBJECTION

          On March 16, 2021, S. Gregory Hays, as Chapter 7 Trustee (“Trustee”) for the bankruptcy

 estate (the “Estate”) of Todd Anthony Shaw (“Debtor”), filed an Application for Approval of

 Employment of MCE Management LLC as Broker for Trustee (the “Application”) [Doc. No. 209],

 seeking an order from the Court authorizing Trustee employ MCE Management LLC (“MCE”) as

 his broker to market for sale certain musical compositions of the Estate, in accordance with the

 terms of the engagement letter attached to the Application as Exhibit “B.”

          No notice or hearing on the Application is necessary. Based upon the verified statement

 included with the Application, it appears that (a) MCE does not represent any interest adverse to



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 the Estate and is disinterested as that term is defined in 11 U.S.C. §101(14); and (b) this case

 justifies employment of professionals for the purpose specified.

         Subject to objection filed by the United States Trustee, the Debtor, or any other party in

 interest in this case within twenty-one (21) days from the date of entry of this Order, it is here by

 ORDER and ADJUDGED as follows:

         1.     Pursuant to 11 U.S.C. § 327 and Fed. R. Bankr. P. 20014, the Application to

 employ MCE to represent the Trustee and the Estate as broker is hereby approved.

         2.     No compensation shall be paid to MCE until the Court has allowed such

 compensation in accordance with 11 U.S.C. §§ 330 and 331 and Fed. R. Bankr. P. 2016, after

 notice and a hearing of an appropriate application for compensation.

         Any objection to this Order shall be served on the United States Trustee, the Trustee,

 counsel for Trustee, and Debtor. If an objection is timely filed, the Trustee shall schedule a

 hearing on the Application and such objection pursuant to the Court’s Open Calendar

 Procedures, and shall provide notice of such hearing to the Debtor, Trustee, the United States

 Trustee, and the objecting party.

                                     [END OF DOCUMENT]

 Order prepared and presented by:

 ARNALL GOLDEN GREGORY LLP
 Attorneys for Chapter 7 Trustee

 By: /s/ Michael J. Bargar
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                                      DISTRIBUTION LIST

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 All entities on the mailing matrix for this case




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